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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                      Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                            Case No. 15-23007-rdd
COMPANY, INC., et al.,1
                                                            Jointly Administered
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                            Adv. Pro. No. 18-8245-rdd
COMPANY, INC., et al.,
                  Plaintiff,

         - against -

PEPSICO, INC.; BOTTLING GROUP, LLC
(d/b/a Pepsi Beverages Company and f/d/b/a
The Pepsi Bottling Group); FRITO-LAY
NORTH AMERICA, INC.; PEPSI-COLA
METROPOLITAN BOTTLING COMPANY,
INC.; PEPSI-COLA HASBROUCK
HEIGHTS; PEPSI-COLA BOTTLING
COMPANY; QUAKER SALES AND
DISTRIBUTION, INC.; MULLER QUAKER
DAIRY, LLC; STACY’S PITA CHIP
COMPANY, INC.; PEPSI BOTTLING
GROUP, NJ; and PEPSI USA,
                     Defendants.

                               STIPULATION AND ORDER EXTENDING
                                 TIME TO RESPOND TO COMPLAINT

         IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for the parties to this adversary proceeding, that the above-named Defendants’ time to

answer, move, or otherwise respond to the Amended Complaint, filed April 23, 2018, is hereby

extended through June 22, 2018.



1
  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc.
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Dated: May 18, 2018

/s/ David N. Crapo                                /s/ Jeffrey Chubak
David N. Crapo                                    Jeffrey Chubak
Philip J. Duffy                                   STORCH AMINI PC
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                                                  Attorneys for Defendants

SO ORDERED this 18th day of May, 2018


/s/Robert D. Drain
Honorable Robert D. Drain
United States Bankruptcy Judge




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